Case 4:20-cv-05146-YGR   Document 974-6   Filed 01/31/23   Page 1 of 30




                     EXHIBIT 5

       Redacted Version of
        Document Sought
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         Case 4:20-cv-05146-YGR          Document 974-6      Filed 01/31/23   Page 2 of 30
               SEALED PROCEEDINGS                                                            1


     1                                  UNITED STATES DISTRICT COURT

     2                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

     3                                            SAN JOSE DIVISION

     4
                PATRICK CALHOUN, ET AL ., ON                  CASE CV- 20- 05146 YGR (SVK)
     5          BEHALF OF THEMSELVES AND ALL
                OTHERS SIMILARLY SITUATED,                    SAN JOSE , CALIFORNIA
     6
                               PLAINTIFFS ,                   JANUARY 10 , 2023
     7                V.
                                                              SEALED PAGES 1 - 29
     8          GOOGLE LLC ,

     9                         DEFENDANT .

    10
                                 TRANSCRIPT OF SEALED ZOOM PROCEEDINGS
    11                           BEFORE THE HONORABLE SUSAN VAN KEULEN
                                    UNITED STATES MAGISTRATE JUDGE
    12
                A- P- P- E- A- R- A- N- C- E- S
    13
                FOR THE PLAINTIFFS :              DICELLO LEVITT GUTZLER LLC
    14                                            BY: DAVID A. STRAITE
                                                  ONE GRAND CENTRAL PLACE
    15                                            60 EAST 42ND STREET , SUITE 2400
                                                  NEW YORK , NEW YORK 10165
    16
                                                  SIMMONS HANLY CONROY
    17                                            BY : AN V. TRUONG
                                                       JASON " JAY " BARNES
    18                                            112 MADISON AVENUE, 7TH FLOOR
                                                  NEW YORK, NEW YORK 10016
    19
                                                  BLEICHMAR FONTI & AULD LLP
    20                                            BY : ANGELICA ORNELAS
                                                  555 12TH STREET , SUITE 1600
    21                                            OAKLAND, CALI FORNIA 94607

    22                      (APPEARANCES CONT I NUED ON THE NEXT PAGE . )

    23          OFFICIAL COURT REPORTER :              IRENE L. RODRIGUEZ , CSR, RMR, CRR
                                                       CERTIFICATE NUMBER 8074
    24
                    PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
    25         TRANSCRIPT PRODUCED WITH COMPUTER.

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         Case 4:20-cv-05146-YGR     Document 974-6      Filed 01/31/23   Page 3 of 30
               SEALED PROCEEDINGS                                                       2


     1         APPEARANCES: (CONT'D)
)
     2         FOR THE DEFENDANT:                 QUINN EMANUEL URQUHART AND
                                                  SULLIVAN, LLP
     3                                            BY: ANDREW H. SCHAPIRO
                                                  191 N. UPPER WACKER DRIVE
     4                                            SUITE 2700
                                                  CHICAGO, ILLINOIS 60606
     5
                                                  BY:  DONALD SETH FORTENBERY
     6                                                 JOSEF T. ANSORGE
                                                  51 MADISON AVENUE, 22ND FLOOR
     7                                            NEW YORK, NEW YORK 10010

     8                                            BY:  STEPHEN ANDREW BROOME
                                                       VIOLA TREBICKA
     9                                            865 S. FIGUEROA STREET
                                                  10TH FLOOR
    10                                            LOS ANGELES, CALIFORNIA 90017

    11                                            BY: XI (TRACY) GAO
                                                  1300 I STREET NW, SUITE 900
    12                                            WASHINGTON, DC 20005

    13         ALSO PRESENT:                      GOOGLE LLC
                                                  BY: MATTHEW GUBIOTTI
    14                                                 TONI BAKER

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                 Case 4:20-cv-05146-YGR     Document 974-6         Filed 01/31/23   Page 4 of 30
                       SEALED PROCEEDINGS                                                          3



             1         SAN JOSE, CALIFORNIA                               JANUARY 10 , 2023
   )
             2                                   PRO C_E ED ING S

09 : 57AM    3               (COURT CONVENED AT 11 : 13 A. M. )

11 : 13AM    4                     THE COURT :      ALL RIGHT.    MS . FANTHORPE, IF YOU ' LL

11 : 13AM    5         CALL THE NEXT MATTER, PLEASE .

11: 13AM     6                     THE CLERK:       YES .   CALLING SEALED HEARING IN CASE

11:14 AM     7         20 - CV- 5146 , CALHOUN , ET AL ., VERSUS GOOGLE LLC.

11: 14AM     8              COUNSEL, PLEASE IDENTIFY YOURSELVES FOR THE RECORD

11 : 14AM    9         BEGINNING WITH THE PLAINTIFF.

11 :1 4AM   10                     MR . STRAITE :     GOOD MORNING, YOUR HONOR .

11 : 14AM   11              DAVID STRAITE FROM THE DICELLO LEVITT GUTZLER FOR

11 : 14AM   12         PLAINTIFFS.    GOOD MORNING .

11: 14AM    13              JOINING ME TODAY ARE MY COLLEAGUES AN TRUONG, SIMMONS

    14AM    14         HANLY CONROY; AND ALSO JAY BARNES, SIMMONS HANLY CONROY; AND

11: 1 4AM   15         ANGELICA ORNELAS FROM BLEICHMAR FONTI & AULD .

11 : 14AM   16                     THE COURT :      EXCELLENT .

11 : 14AM   17              WHERE IS MS . ORNELAS?          I SAW HER NAME A MOMENT AGO .     THERE

11:14AM     18         SHE IS .   EXCELLENT .    THANK YOU .

11 : 14AM   19              WELCOME BACK EVERYBODY.

11 : 14AM   20              AND FOR GOOGLE TODAY?

11 : 14AM   21                     MR . SCHAPIRO :      HELLO , YOUR HONOR .

11 : l4AM   22              ANDREW SCHAPIRO FROM QUINN EMANUEL FOR GOOGLE JOINED BY

11 : 14AM   23         VIOLA TREBICKA, JOSEF ANSORGE , TRACY GAO , AND SETH FORTENBERY,

11 : 14AM   24         AND STEPHEN BROOME FROM OUR FIRM.

11 : 14AM   25              AND ALSO FROM GOOGLE, MATTHEW GUBIOTTI AND TONI BAKER.



                                            UNITED STAT ES COURT REPORTE RS
                 Case 4:20-cv-05146-YGR      Document 974-6    Filed 01/31/23   Page 5 of 30
                       SEALED PROCEEDINGS                                                       4


11: 15AM     1              YOUR HONOR, IF SUDDENLY YOU SEE ME TURN OFF MY SCREEN AND

    .5AM     2         REAPPEAR IN A DIFFERENT ROOM, IT IS BECAUSE IT SEEMS LIKE THE

11:15AM      3         WI - FI IS OCCASIONALLY A LITTLE WEAK IN THE CONFERENCE ROOM

11: lSAM     4         WHERE I AM AND THAT JUST MEANS I ' VE RUN OVER TO ANOTHER

11 : 15AM    5         CONFERENCE ROOM FOR A SECOND .

11 : 15AM    6                    THE COURT:     YES.   YOU WERE BREAKING UP SLIGHTLY ON

11 : 15AM    7         THE APPEARANCES , BUT WE KNOW THEM ALL BY HEART , SO THAT ' S OKAY .

11: 15AM     8              THANK YOU , MR . SCHAPIRO.

11 : 15AM    9              ALL RIGHT.      THIS HEARING IS UNDER SEAL .    HOWEVER, I WILL

11 : 15AM   10         ORDER THAT THE TRANSCRIPT CAN BE RELEASED TO THE PARTIES AS

11: 15AM    11         SOON AS IT IS AVAILABLE FOLLOWING THESE PROCEEDINGS .

11 : 15AM   12              WE ARE ON TODAY INITIALLY FOR GOOGLE'S -- WELL , INITIALLY

11 : 15AM   13         BECAUSE GOOGLE FILED A MOTION FOR RELIEF FROM THE

     5AM    14         PRESERVATION ORDER .

11: 15AM    15              THEN THERE WAS JUDGE GONZALEZ ROGERS ISSUED A SUMMARY

11 : 16AM   16         JUDGMENT ORDER TERMINATING THE CASE .      THAT HAS BEEN APPEALED TO

11 : 16AM   17         THE NINTH CIRCUIT , WHICH RAISES THE FIRST QUESTION BEFORE US

11: 16AM    18         TODAY WHICH IS WHETHER THIS COURT HAS JURISDICTION TO HEAR THE

11: 16AM    19         MOTION .

11: 16AM    20              THE ORIGINAL MOTION ALSO WAS SUPPLEMENTED.          FOLLOWING THE

11: 16AM    21         SUMMARY JUDGMENT ORDER I ASKED FOR BRI EFING WITH REGARDS TO THE

11: 16AM    22         IMPACT OF THE ORDER ON THE PRESERVAT I ON PLAN , AND IN THAT

11: 16AM    23         SUBSEQUENT BRIEFING GOOGLE ASKED FOR FURTHER RELIEF OF A

11: 16AM    24         REQUEST THAT IT NOT HAVE TO PRESERVE ANY ADDITIONAL DATA GOING

11: 16AM    25         FORWARD AND NOT CONTINUE TO PRESERVE THE DATA COLLECTED SO FAR.

    )
                                            UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR     Document 974-6      Filed 01/31/23   Page 6 of 30
                        SEALED PROCEEDINGS                                                       5



11 : 16AM     1              SO -- OR IF THAT WAS THE CASE , THEN HAVE THE PLAINTIFFS

    l 7AM     2         PAY THE COST OF RETAINING THAT DATA, AND THEN THAT , OBVIOUSLY

11 :17 AM     3         THAT REQUEST RAISED THE ISSUES OF -- OR BROUGHT TO A HEAD I

11:17AM       4         SHOULD SAY , THE ISSUES OF WHETHER OR NOT THIS COURT HAS

11:1 7AM      5         JURISDICTI ON TO HEAR ANY OF THE ISSUES RAISED BY GOOGLE.

ll,17AM       6              SO I THINK THAT ' S THE GENERAL LANDSCAPE.

11 : 17AM     7              LET ME GIVE YOU MY VIEWS AT THIS POINT , AND THEN WE WILL

11 : 17AM     8         FIND OUR WAY FORWARD.

1 1 : 17AM    9              THE QUESTION AS TO WHETHER OR NOT I HAVE JURISDICTION IS A

11:1 7AM     10         QUESTION OF WHETHER THE ISSUES BEFORE ME ARISING OUT OF THE

11 : 17AM    11         PRESERVATION PLAN ARE RELATED TO ISSUES ON APPEAL.          WITH MANY

11:17AM      12         ASPECTS OF THIS CASE, IT ' S AN INTERESTING QUESTION.

11: 17AM     13              WITH REGARDS TO GOOGLE ' S REQUEST FOLLOWING THE SUMMARY

    l 8AM    14         JUDGMENT ORDER THAT IT BE PERMITTED TO CEASE ITS PRESERVATION

11 : 18AM    15         EFFORTS UNDER THE PRESERVATION ORDER AND DELETE THE DATA

11: 1 8AM    16         PRESERVED THUS FAR, I THINK THAT THAT MAY PRESENT SUBSTANTIAL

11 : 18AM    17         ISSUES THAT RELATE TO OR MAY RELATE TO THE ISSUES ON APPEAL,

1 1: 18AM    18         AND I WILL CONSIDER THOSE QUESTIONS FOR RELIEF ONLY UPON REMAND

11 : 1 8AM   19         TO ME BY THE NINTH CIRCUIT.       SO GOOGLE WILL HAVE TO ASK THE

11 : 18AM    20         NINTH CIRCUIT EITHER FOR THAT RELIEF OR TO LET ME CONSIDER THAT

11: 18AM     21         REQUEST .

11 : 18 AM   22              THAT BRINGS US, THEN , TO THE ORIGI NAL PENDING MOTION THAT

11 : 18 AM   23         GOOGLE FILED HERE BEFORE ME WHICH WAS FOR RELIEF UNDER THE

11 : 19AM    24         PRESERVATION PLAN OF TWO KINDS .       ONE WAS RELIEF FROM PRESERVING

11: 19AM     25         CERTAIN TABLES,                    AND ANALYTICS TABLES ,       TABLES



                                             UNITED STAT ES COURT RE PORT ERS
                  Case 4:20-cv-05146-YGR     Document 974-6     Filed 01/31/23   Page 7 of 30
                        SEALED PROCEEDINGS                                                      6



11:19AM       1         THAT WERE ALSO THE SUBJECT OF THE MOTION IN THE BROWN CASE AS

    .9AM      2         WELL AS PERMISSION TO STOP ITS             FIELD PRESERVATION

11 : 19 AM    3         EFFORTS AS ORDERED AS PART OF THE PRESERVATION PLAN .

11 : 1 9AM    4              AGAIN , I REVIEW THAT REQUEST WITH THE               FIELD

11: 19AM      5         PRESERVATION PLAN , OF COURSE , THE PRESERVATION PLAN TO MY WAY

11: 19AM      6         OF THINKING IS THAT IT ' S LIKE A SWISS WATCH.        IT HAD A LOT OF

11: 1 9AM     7         TIME AND EFFORT INTO EACH AND EVERY ASPECT .         WE HAD MULTIPLE

11: 19AM      8         HEARINGS IN THIS CASE , MULTIPLE ROUNDS OF BRIEFING, MULTIPLE

11: 19AM      9         ROUNDS OF EFFORTS IN FRONT OF THE SPECIAL MASTER IN PUTTING

11: 19AM     10         THAT PLAN TOGETHER .

11 : 19AM    11              I DO APPRECIATE THAT THERE ARE SOME CHANGES IN THE POSTURE

11 : 20AM    12         OF THE CASE NOW IN LIGHT OF THE ORDER, BUT IT IS NOT CLEAR TO

11 : 20AM    13         ME WITH REGARDS TO THE IMPACT OF THE              FIELD DATA ON THE

     OAM     14         ISSUES THAT ARE ON APPEAL.

11 : 20AM    15              AND SO I THINK THAT IT MAY , IT MAY PRESENT SUBSTANTIAL

11:20AM      16         ISSUES THAT I WILL CONSIDER ONLY IF REMANDED TO ME BY THE

11 : 20AM    17         NINTH CIRCUIT.

11 : 20AM    18              SO FOR THAT PORTION OF THE RELIEF THAT GOOGLE SEEKS ,

11:20AM      19         YOU ' LL HAVE TO TAKE THAT TO THE NINTH CIRCUIT.

11 : 20AM    20                    MR . SCHAPIRO:     MORE PRESUMABLY JUDGE GONZALEZ ROGERS

1 1: 20AM    21         FIRST , IF WE ' RE OBJECTING TO YOUR RULING HERE TODAY ,

11 : 20 AM   22         YOUR HONOR?

11:20 AM     23                    THE COURT:      THAT ' S AN EXCELLENT QUESTION,

11 :20AM     24         MR . SCHAPIRO.

11 : 20AM    25                    MR. STRAITE :     I ' LL GO TAKE A LOOK AT WRIGHT &

    )
                                             UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR        Document 974-6      Filed 01/31/23   Page 8 of 30
                       SEALED PROCEEDINGS                                                          7



11:20AM      1         MILLER.

    _OAM     2                     THE COURT :      WELL, I ' M NOT SURE THAT WRIGHT &

11:21AM      3         MILLER ADDRESSED THAT.        AS PHRASED BY THE PARTIES ' BRIEFS ,

11 : 21AM    4         THERE ' S A PROCESS .     YOU CAN GO TO THE FEDERAL RULES FOR AN

11 : 21AM    5         INDICATIVE RULING BEFORE THE DISTRICT COURT WILL TAKE UP AN

11:21AM      6         ISSUE THAT EITHER IT WOULD GRANT OR IT MAY BE SUBSTANTIALLY

11 : 21AM    7         RELATED TO THE ISSUES ON APPEAL , AND I TH I NK THAT GIVEN THE

11:21AM      8         BREADTH AND SCOPE AND THE ROLE OF PRESERVATION OF DATA IN THIS

11:21AM      9         CASE AND WHETHER OR NOT -- YOU KNOW , IF DATA IS NOT PRESERVED,

11:21AM     10         CAN THAT -- AND THE PLAINTIFFS ARE SUCCESSFUL ON APPEAL, CAN

11:21AM     11         THAT BE ADDRESSED AT THAT TIME RAISE ISSUES THAT REQUIRE LEAVE

11 : 21AM   12         FROM THE NINTH CIRCUIT?

11:21AM     13                     MR . SCHAPIRO :     SO IF I MAY JUST TAKE TWO MINUTES TO

     2AM    14         MAKE A RECORD AND RAISE ONE POINT THAT I HOPE TO PERSUADE YOU

11:22AM     15         ON A PIECE OF THIS , YOUR HONOR.

11:22AM     16                     THE COURT :      YOU MAY , BUT LET ME FINISH.

11:22AM     17                     MR . SCHAPIRO :     MY APOLOGIES .

11:22AM     18                     THE COURT :      THAT ' S ALL RIGHT .   THAT ' S ALL RIGHT.

11 : 22AM   19              AND BECAUSE I WAS ALMOST DONE , WHICH WAS THEN THAT LEAVES

11:22AM     20         US THE ISSUE OF THE TABLES WHICH I DO LOOK TO GOOGLE FOR

11 : 22AM   21         CONFIRMATION THAT THAT IS AN IDENTICAL ISSUE WITH REGARDS TO

11:22AM     22         WHAT WAS RAISED I N BROWN .       I APPREC I ATE SOME OF THE SPECI FIC

11:22AM     23         TRANSLATIONS MAY BE DIFFERENT BUT THAT THE ISSUE IS THE SAME .

11:22AM     24               IS THAT RIGHT , MS. TREBICKA?

11:22AM     25                     MS . TREBICKA :     ALMOST THE SAME.      IT IS THE SAME WITH



                                               UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR     Document 974-6      Filed 01/31/23   Page 9 of 30
                        SEALED PROCEEDINGS                                                       8



11: 22AM      1         RESPECT TO THE                     PIECE , AND WITH RESPECT TO THE

    .2AM      2         ANALYTICS TABLES THERE -- BY CONTRAST TO BROWN , THERE IS NO

11 : 22AM     3         ANALYTICS DATA THAT IS BEING PRESERVED IN THE                 LOGS .

11 : 23 AM    4         LET ME JUST GET TO -- I DON 'T WANT TO MISSPEAK, YOUR HONOR .

11:23AM       5              THE ANALYTICS ISSUE HERE -- GIVE ME JUST ONE SECOND -- IS

11: 23AM      6         THAT THE ANALYTICS DATA THAT IS BEING PRESERVED IN CALHOUN IS

11 : 23AM     7         ONLY GAIA KEYED AUTHENTICATED DATA .

11 : 23AM     8              AND THE ANALYTICS TABLES THAT WE HAVE IDENTIFIED FOR

11:23AM       9         RELIEF ARE BISCOTTI AND DEVICE ID KEY.          THEY DO NOT HAVE GAIA

11: 24AM     10         IDENTIFIERS .

11: 24AM     11                     THE COURT:    SO THEY DON ' T TRANSLATE?

11 : 24AM    12                     MS. TREBICKA :    SO THEY ARE NOT USEFUL OR RELEVANT TO

11 : 24AM    13         READING THE DATA, THE ANALYTICS DATA THAT IS BEING PRESERVED IN

      4AM    14         CALHOUN .

11:24AM      15                     THE COURT :   OKAY .   WE ' LL TAKE THAT UP WHEN WE WORK

11: 24AM     16         OUR WAY DOWN TO THE TABLES .       THANK YOU FOR IDENTIFYING THE

11: 24AM     17         ISSUES.

11:24AM      18              SO MR . SCHAPIRO.

11 : 24AM    19                     MR . SCHAPIRO :   THANK YOU , YOUR HONOR .

11: 24AM     20              SO FIRST , JUST TO MAKE SURE THAT WE ' RE CLEAR ON WHAT OUR

11 : 24AM    21         POSITION IS ABOUT THE JURISDICTIONAL QUESTION.

11: 24AM     22                     THE COURT :   YES.     EXCUSE ME.   I JUST DROPPED MY

11:24AM      23         JURISDICTIONAL NOTES, SO HANG ON.

11 : 24AM    24               (PAUSE IN PROCEEDINGS . )

11: 24AM     25                     THE COURT:    OKAY .    MY APOLOGIES.

     )
                                             UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR      Document 974-6     Filed 01/31/23   Page 10 of 30
                        SEALED PROCEEDINGS                                                        9



11:24AM       1                       MR . SCHAPIRO :   SO IT ' S RARE THAT YOU COME ACROSS A

   24AM       2         CASE THAT IS ALMOST ON ALL FOURS WHEN YOU HAVE A SITUATION THAT

11:24AM       3          IS AS ODD AS OURS IS, BUT WE BELIEVE THAT THE LORD ABBETT CASE

11 : 24AM     4         REALLY DOES FIT THE BILL ON THAT , AND THAT IS A CASE WHERE

11 : 25AM     5         THERE WAS A DISPUTE ABOUT WHETHER TO PRESERVE SOME COMPUTERS

11: 25AM      6         THAT ONE PARTY SAID WOULD BE RELEVANT IF THE CASE WERE REMANDED

11: 25AM      7         ON APPEAL , AND THE COURT CONSIDERED THAT .       AND CONTRARY TO WHAT

11: 25AM      8         THE PLAINTIFFS HAVE SAID IN THEIR PAPERS , IT TOOK JURISDICTION

11: 25AM      9         AS A THRESHOLD ISSUE FIRST BEFORE MAKING ANY DECISIONS ABOUT

11: 25AM     10         THE MERITS.      THIS IS IN STAR 2 IN THE WESTLAW VERSION OF THE

11 : 25AM    11         CASE .

11 : 25AM    12                  THE COURT THERE SAID, "THE ISSUE BEFORE THIS COURT DOES

11 : 25AM    13         NOT RELATE TO THE MERITS OF THE LAWSUIT .        IT PERTAINS SOLELY TO

    '. 5AM   14         WHETHER ANY PARTY HAS A DUTY TO CONTINUE TO PRESERVE THE WIND

11 : 25AM    15         RUSH COMPUTERS PENDING A POTENTIAL TRIAL ON REMAND .

11 : 25AM    16                  "ACCORDINGLY, THIS COURT RETAINS JURISDICTION OVER THE

11:25AM      17          DISPUTE NOTWITHSTANDING LORD ABBETT ' S APPEAL ."

11 : 25AM    18                  THEN THE COURT THEN SAYS, "TURNING NOW TO THE SUBSTANCE OF .

1 1: 25AM    19         THE DISPUTE DOT , DOT , DOT. "

11 :25AM     20                  BUT I THINK REGARDLESS OF WHAT ONE DETERMINES IS TRULY

11 : 26AM    21         COLLATERAL AND ANCILLARY OR NOT , ONE THING IS FOR SURE AND THAT

11 : 26AM    22          IS THAT THIS QUESTION OF WHO SHOULD PAY FOR THE PRESERVATION IS

11 : 26AM    23         AS ANCILLARY AND COLLATERAL AS IT CAN GET.         THE ISSUE OF WHO

11: 26AM     24         HAS TO PAY FOR THE PRESERVATION IS NOT UP BEFORE THE

11 : 26AM    25         NINTH CIRCUIT.      IT ' S NOT GOING TO BE UP BEFORE THE



                                              UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 11 of 30
                       SEALED PROCEEDINGS                                                     10


11: 26AM     1         NINTH CIRCUIT.

  ; 26AM     2              SO I WOULD ASK THAT EVEN IF YOU BELIEVE THAT YOU DO NOT

11: 26AM     3         HAVE JURISDICTION TO AUTHORIZE US TO NO LONGER          TO STOP

11: 26AM     4         PRESERVING THIS DATA AFTER HAVING WON THE CASE IN THE DISTRICT

11 : 26AM    5         COURT , THE BALANCE UNDER RULE 26 HAS SHIFTED SUCH THAT, AND

11: 2 6AM    6         MS . TREBICKA CAN SPEAK ABOUT THE BURDEN MORE , SUCH THAT WE

11: 26AM     7         SHOULD AT LEAST NOT HAVE TO PAY FOR IT ANYMORE.

11:26AM      8              AND THE COURT , WE BELIEVE, SURELY HAS JURISDICTION TO

11: 26AM     9         DECIDE THAT.     THAT IS AN ANCILLARY COLLATERAL MATTER .     IT FITS

11: 26AM    10         SQUARELY UNDER THE EXCEPTION TO THE RULE BY DIVESTING

11: 26AM    11         JURISDICTION .

11: 26AM    12                    THE COURT:     AND I APPRECIATE THAT.     THANK YOU ,

11: 26AM    13         MR. SCHAPIRO.

    27AM    14              AND I ' LL HEAR FROM YOU IN A MOMENT , MR . STRAITE .    THE

11 : 27AM   15          POINTS YOU MAKE ARE POINTS THAT THE COURT HAS GIVEN VERY

11 : 27AM   16         CAREFUL CONSIDERATION TO WITH REGARDS TO WHETHER IT COULD

11 : 27AM   17         RETAIN.

11: 27AM    18               LET ME START WITH THE LORD ABBETT CASE BECAUSE I OBVIOUSLY

11: 27AM    19         LOOKED AT THAT CAREFULLY.      THERE ' S NOT A LOT OF GUIDANCE IN

11 : 27AM   20         THIS AREA IN THE NINTH CIRCUIT OR THE NORTHERN DISTRICT , BUT

11 : 27AM   21         THAT CASE DOES SPEAK TO PRESERVATION OF EVIDENCE .        WELL , THE

11: 27AM    22         MATTER IS UP ON APPEAL.

11 : 27AM   23               BUT THERE THE UNDERLYING FACTS ARE -- COULD NOT BE MORE

11: 27AM    24          DIFFERENT FROM THIS CASE IN THAT THE COMPUTERS WERE SOMEWHAT

11: 27AM    25         YOU KNOW, THEY WERE THIRD PARTIES , THEY WERE REMOVED, THE



                                            UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 12 of 30
                       SEALED PROCEEDINGS                                                  11



11 : 27AM    1         LIKELIHOOD OF THOSE COMPUTERS HAVING RELEVANT EVIDENCE WAS

    . SAM    2         SOMETHING THAT THE COURT LOOKED AT AND JUST DID NOT SEE THIS AS

11:28AM      3         A SIGNIFICANT ISSUE OR SUBSTANTIAL ISSUE RELATED IN ANY WAY TO

11 : 28AM    4         THE APPEAL.

11:28AM      5               IT WAS TALKING ABOUT OBVIOUSLY SHARING THE COSTS , THE

11:28AM      6         WAREHOUSING COSTS , BUT IT WAS A VERY DIFFERENT FACTUAL

11: 28AM     7         SITUATION WHERE HERE WE HAVE , WE HAVE THIS VERY INTRICATE AND

11: 28 AM    8         COMPREHENSIVE PRESERVATION PLAN THAT WAS DESIGNED REALLY TO

11 : 28AM    9         ADDRESS A NUMBER OF THE ISSUES AND THE EVIDENCE THAT WOULD BE

11:28AM     10         REQUIRED SHOULD THE CASE GO FORWARD .

11: 28AM    11               I ALSO LOOKED AT , AND I APPRECIATE GOOGLE ' S CONCERNS AND

11: 28AM    12         THINKING OF, WELL, OKAY, WE HAVE SUCCEEDED ON SUMMARY JUDGMENT ,

11: 29AM    13          IT TOOK A LONG TIME, BUT WE DID GET A RULING, AND SO THE CASE

     9AM    14          IS OVER BUT WE ' RE NOT RELIEVED OF THIS PRESERVATION OBLIGATION,

11:29AM     15         OKAY , BUT THERE SHOULD BE COST SHIFTING .

11 : 29AM   16               AND I GAVE SOME THOUGHT TO THE PROPORTIONALITY .       THERE IS

11 : 29AM   17         AN ARGUMENT THAT THE PROPORTIONALITY ANALYSIS HAS CHANGED, BUT

11 :29AM    18         THAT ANALYSIS IS TIED TO SUCCESS ON THE SUMMARY JUDGMENT

11:29AM     19         MOTION .   THAT ' S WHERE I HAVE A CHALLENGE OF CAN I JUST BACK OUT

11:29AM     20         THE COST ISSUE WHEN THE REASON, THE RATIONALE FOR SHIFTING COST

11 : 29AM   21          IS -- WELL , THE PROPORTIONS HAVE CHANGED, THE PROPORTIONALITY

11 : 29AM   22         ANALYSIS HAS CHANGED AND IT HAS CHANGED BECAUSE OF THE RULING

11: 30AM    23         ON SUMMARY JUDGMENT WHICH IS EXACTLY WHAT IS ON APPEAL .

11:30AM     24               I WILL PICK IT UP AND I WILL RULE ON IT IF THE

11: 3 0AM   25         NINTH CIRCUIT SAYS THAT THAT ' S OKAY .



                                            UNITED STATES COURT REPORTERS
                    Case 4:20-cv-05146-YGR      Document 974-6     Filed 01/31/23    Page 13 of 30
                          SEALED PROCEEDINGS                                                     12


11:30AM         1                       MR . SCHAPIRO:   YES.   SO YOUR HONOR, I WANT TO BE

     30 7'.M    2         CLEAR THAT WE ARE NOT MEANING TO CONFLATE THE QUESTION ABOUT

11: 30AM        3          RULE 26 BURDEN WITH THE QUESTION ABOUT JURISDICTION OR WHAT THE

11: 30 7'.M     4          NINTH CIRCUIT DOES ON APPEAL .

11: 307'.M      5               THE FACT IS THAT WE BELIEVE THAT YOU HAVE JURISDICTION TO

11: 307'.M      6         ASSESS CAUTION, AND I THINK I HEAR YOU SAYING THAT AS WELL .           I

11 : 30AM       7         MIGHT BE WRONG .     BUT YOU ' RE SAYING THAT YOU ' RE NOT SURE IF THE

11: 307'.M      8          BALANCE HAS CHANGED, AND I ' D LIKE TO ADDRESS THAT RIGHT NOW.

11: 307'.M      9                       THE COURT :   WELL , I THINK, LET ME JUST -- I BELIEVE

11 : 30 7'.M   10          THE BALANCE HAS CHANGED, BUT IT HAS CHANGED BECAUSE OF THE

11 : 307'.M    11          RULING THAT IS UP ON APPEAL .

11: 307'.M     12                       MR . SCHAPIRO:   YES, BUT RESPECTFULLY, THAT SHOULDN ' T

11:31AM        13          MATTER.     IT HAS CHANGED BECAUSE IF SOMETHING IS ON THE APPEAL ,

     317'.M    14          BUT THE FACT ON THE GROUND IS THAT THERE IS NOW A MUCH , MUCH ,

11: 317'.M     15          MUCH SMALLER CHANCE THAT THIS EVIDENCE WILL EVER BE RELEVANT OR

1 1:31 AM      16          BE USED .   YES , BECAUSE IT ' S ON APPEAL , THAT ' S FINE .   BUT

11 : 317'.M    17          BECAUSE OF THE LIKELIHOOD THAT THIS EVIDENCE WILL EVER BE

11: 317'.M     18          RELEVANT OR USED IN ANY COURTROOM IS MUCH LESS THAN IT WAS ON

11:31AM        19          DECEMBER 11TH, THE DAY BEFORE THE ORDER WAS ISSUED , THE BALANCE

11 : 317'.M    20          UNDER RULE 26 HAS CHANGED AND WE SHOULD NOT HAVE TO PAY .

11 : 317'.M    21                       THE COURT :   SO THAT ' S AN EXCELLENT POINT , AND THAT ' S

11 : 317'.M    22          MY QUESTION IS THAT LIKELIHOOD OF SUCCESS IS NOT A RULE 26

11:31AM        23          FACTOR .

11: 31AM       24                I MEAN, I LOOK AT THAT , BUT I KEEP COMING BACK TO THAT

11 : 317'.M    25          IT'S TIED TO BECAUSE OF THE SUMMARY JUDGMENT RULING, BUT I --



                                                UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR     Document 974-6        Filed 01/31/23    Page 14 of 30
                        SEALED PROCEEDINGS                                                          13


11: 31AM      1                     MR . SCHAPIRO :     WELL , BUT I THINK, YOUR HONOR, UNDER

   . 31 AM    2         RULE 26 ONE OF THE FACTORS IS HOW LIKELY IS IT THAT THIS IS

11: 31AM      3         GOING TO BE IMPORTANT EVIDENCE , RIGHT?

11 : 31 AM    4                SO EVEN IF YOU ' RE JUST TALKING UNDER RULE 26 ABOUT A

11 : 31AM     5         REQUEST TO TAKE A DEPOSITION OF SOMEONE OR REVIEW A BUNCH OF

11: 32AM      6         DOCUMENTS , AT THE GENERAL LEVEL THE QUESTION IS WHAT IS THE

11 : 32 AM    7         LIKELIHOOD THAT THIS IS GOING TO BE USEFUL AT TRIAL?

11: 32AM      8                AND THERE MIGHT BE VARIOUS REASONS WHY DOWN THE ROAD IT

11 : 32AM     9         WILL OR WON ' T BE IMPORTANT AT TRIAL.

11: 32AM     10                HERE THE REASON IT ' S UNLIKELY TO BE IMPORTANT AT TRIAL IS

11 : 32AM    11         BECAUSE THEY ' RE UNLIKELY TO GET THERE .        THAT STILL WEIGHS AS A

11 : 32AM    12         FACTOR ON THE SCALE.

11 : 32AM    13                     THE COURT:       OKAY .   I HEAR YOU .   I HEAR YOU .   THANK

      32AM   14         YOU.

11 : 32AM    15                MR . STRAITE , MR . SCHAPIRO PICKS UP A POINT THAT THE COURT

1 1:32AM     16         HAS ALSO GIVEN A_LOT OF THOUGHT AND CONS I DERATION, I 'LL EVEN

11: 32 AM    17         SAY HAS STRUGGLED WITH , WITH REGARDS TO A PURELY COST SHIFTING

11 : 32AM    18         ANALYSIS AT THIS STAGE WITHOUT REGARD TO , YOU KNOW , ALL OF THE

11: 32AM     19         EVIDENCE STAYS, BUT NOW IN LIGHT OF SIGNIFICANT CHANGE IN

11: 33AM     20         CIRCUMSTANCES, PLAINTIFFS OUGHT TO BE SHARING IN THAT BURDEN .

11: 33 AM    21                     MR . STRAITE :     THANK YOU , YOUR HONOR.      WE WOULD AGREE

11 : 3 3AM   22         THAT RULE 26 DOES NOT HAVE A MERITS ANALYSIS BAKED INTO THE

11 : 33AM    23         PROPORTI ONALITY TEST.

11 : 33 AM   24                IN THE NINTH CIRCUIT MULTIPLE COURTS HAVE SAID THAT THE

11: 33AM     25         ZUBULAKE , Z-U- B, TEST , THE SEVEN PART TEST , WHICH IS THE GOLD

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                                             UNITED STAT ES COURT REPORTERS
                    Case 4:20-cv-05146-YGR     Document 974-6     Filed 01/31/23     Page 15 of 30
                          SEALED PROCEEDINGS                                                         14


11:33AM         1         STANDARD IN THE NINTH CIRCUIT , IT ' S A NEW YORK CASE.         IT ' S

   . 33AM       2         ZUBULAKE VERSUS UBS WARBURG LLC .       THERE ARE SEVEN FACTORS AND

11:33 AM        3         NONE OF THEM ARE AN ANALYSIS OF CHANCES OF SUCCESS ON THE

11 : 33 AM .    4         MERITS .

11 : 33AM       5               IN FACT , WE HAVE OTHER FACTORS LIKE THE PARTY ' S RELATIVE

11: 33AM        6         ABILITY TO PAY FOR A PRESERVATION?         THAT ' S ONE OF THE FACTORS .

11:33AM         7         HOW IMPORTANT THE ISSUES ARE IN LITIGATION?            OBVIOUSLY THAT HAS

11 : 33 AM      8         ALREADY BEEN ADDRESSED .

11 : 33AM       9               GOOGLE HAS STEADFASTLY REFUSED TO ADDRESS THE ZUBULAKE

1 1: 33 AM     10         TEST IN ANY OF ITS BRIEFING WHICH IS UNFORTUNATE , BUT RULE 26

1 1 : 34AM     11         NOR ZUBULAKE ADDRESS OR ALLOW US TO HANDICAP THE LIKELIHOOD OF

11:34AM        12         SUCCESS ON APPEAL .

11 : 3 4AM     13               MORE IMPORTANTLY , HOWEVER, THAT TO THE EXTENT THAT COST

     34AM      14         SHIFTING WERE APPROPRIATE , IT CAN ONLY BE EVALUATED FAIRLY WITH

11 : 34AM      15          REOPENING OF DISCOVERY, WHICH YOUR HONOR HAS SAID AND WE ' RE

11 : 34 1'.M   16          GRATEFUL TO HEAR IT , THAT THAT ' S NOT IN THE CARDS .       IT WOULD BE

11 : 34AM      17         A SUBSTANTIAL EFFORT TO FIGURE OUT EXACTLY WHAT ARE THE

11 : 34AM      18         APPROPRIATE OUT-OF- POCKET COSTS ASSOCIATED WITH NON- DUPLICATIVE

11 : 34AM      19          DISCOVERY, AND THAT WOULD REQUIRE AN ENORMOUS EFFORT TO EVEN

11 : 34AM      20          UNDERSTAND WHAT WE ' RE TALKING ABOUT .     EVEN THE ORDER OF

11:34 AM       21         MAGNITUDE HAS CHANGED .

1 1: 34 AM     22                     THE COURT :    I ' M GO I NG TO STOP YOU THERE,

11: 3 4AM      23         MR . STRAITE , BECAUSE I WILL SAY I DON ' T AGREE .       THAT DOESN ' T

11 : 34AM      24         MEAN THAT THERE WOULDN ' T HAVE TO BE SOME EXCHANGE OF

11: 34AM       25          INFORMATION OR SOME FURTHER DIGGING OF THE INFORMATION WITH



                                                UNITED STATES COURT RE PORTERS
                  Case 4:20-cv-05146-YGR     Document 974-6        Filed 01/31/23    Page 16 of 30
                        SEALED PROCEEDINGS                                                           15


11: 34 AM     1         REGARD TO COSTS .

    J4AM      2                     MR . STRAITE :     RIGHT.

11 : 34 AM    3                     THE COURT :      BUT WE MAY EVENTUALLY GET THERE IN THIS

11 : 34AM     4         CASE , AND I ' M IMAGINING A SITUATION WHERE THE NINTH CIRCUIT

11 : 34AM     5         SAYS WHAT ARE YOU TALKING ABOUT?           COST SHIFTING ON PRESERVATION

11 : 34AM     6         OF DISCOVERY , DISTRICT COURT , GO , DO IT .

11: 3 5 AM    7              AND THAT ' S STILL NOT GOING TO HAVE A REOPENING, CERTAINLY

11: 35 AM     8         NOT A WHOLESALE REOPENING OF DISCOVERY.

11: 35AM      9                     MR . STRAITE :     AND YOUR HONOR -- THANK YOU ,

11: 3 5AM    10         YOUR HONOR.

11:35AM      11              TO THE EXTENT THAT WE ' RE TALKING ABOUT WHAT ARE THE COSTS

11 : 35AM    12         ASSOCIATED WITH NON- DUPLICATIVE DISCOVERY, THAT ' S CERTAINLY A

11 : 35 AM   13         CONVERSATI ON WE ' RE WILLING TO HAVE NOW I F WE WANT.          THERE ' S

     SAM     14         NOTHING THAT WOULD PROHIBIT THE PARTIES , IF WE AGREE , TO HAVE A

11 : 35AM    15         MEET AND CONFER REGARDING THE MAPPING TABLES , FOR EXAMPLE .                WE

11: 3 5AM    16         COULD BE APART OF THE CONVERSATIONS WITH THE BROWN TEAM AND OUR

11 : 35AM    17         EXPERTS .

11 : 35AM    18              WE HAVE NO INTEREST IN ASKING GOOGLE TO PRESERVE

11: 35AM     19         DUPLICATIVE DATA.     THERE ' S NO REASON FOR THAT .        AND IF COSTS

11 : 35AM    20         COULD BE REDUCED, WE ' RE MORE THAN WILLING TO BE APART OF THAT

11 : 35AM    21         CONVERSATION EVEN DURING APPEAL .

11 : 35 AM   22                       THE COURT:     ALL RIGHT .

11: 35AM     23                     MR. SCHAPIRO:       YOUR HONOR, THERE ' S ONE OTHER THING

11 : 35AM    24         THAT HAS CHANGED THAT I THINK THE COURT ALSO CAN TAKE INTO

11 : 35AM    25         ACCOUNT SEPARATE FROM THE FACT THAT THE ODDS ARE VERY LOW THAT

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                                             UNITED STATE S COURT REP ORTERS
                  Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 17 of 30
                        SEALED PROCEEDINGS                                                  16


11: 35 AM     1         THIS EVIDENCE WOULD EVER BE USEFUL.      BY THE WAY, I'M SURE

    36AM      2         MR. STRAITE MISSPOKE, BUT WE DID ADDRESS ZUBULAKE IN OUR REPLY

11 : 36AM     3         BRIEF.

11: 36 AM     4              YOUR HONOR, THE OTHER THING THAT HAS CHANGED NOW IS THAT

11 : 36AM     5         NOW WE'RE LOOKING AT A PERIOD, A SUBSTANTIALLY LONGER PERIOD

11 : 36AM     6         THAN ANYONE MIGHT HAVE ANTICIPATED FOR THE RETENTION OF THIS

11 : 3 6AM    7          DATA WHERE THE METER IS RONNING ON THE COST OF THAT.        WE

11 : 36AM     8         BELIEVE THAT THAT IS ALSO SOMETHING NOW THAT DUE TO THESE

11 : 36AM     9         CHANGED CIRCUMSTANCES THE COURT CAN LOOK AT :

11: 3 6AM    10                    THE COURT:     UH-HUH.

11 : 36AM    11                    MR. SCHAPIRO:     IN TERMS OF JUST THE BASIC UNFAIRNESS

11 : 36AM    12         AND PERHAPS SLIGHT FRUSTRATION, WE FEEL ABOUT THE

11 : 36AM    13         CIRCUMSTANCES, YOUR HONOR, WE BELIEVE THAT YOUR HONOR WOULD

      6AM    14         HAVE GRANTED AT LEAST I N PART OUR MOTION AS IT WAS ORIGINALLY

11: 36AM     15          FILED BECAUSE WE THINK THERE'S A LOT OF MERIT TO IT, BUT

1 1 : 36AM   16         BECAUSE OF THE INTERVENING FACTOR THAT WE WON THE CASE BEFORE

11 : 36AM    17         THERE COULD BE A RULING ON IT, SUDDENLY WE'RE STUCK, AND WE

11 : 36AM    18         CAN'T GET A RESOLUTION ON THAT MERITORIOUS MOTION.

11: 36AM     19              SO YOU CAN UNDERSTAND WHERE WE'RE FEELING LIKE WAIT A

11: 36AM     20         MINUTE, WE HAD A GOOD MOTION, WE THINK WE WOULD HAVE WON IT,

11:37 AM     21         AND BEFORE YOU GOT -- WE HAD A CHANCE TO HAVE IT FULLY BRIEFED

11 : 37 AM   22         AND ARGUED, WE WIN THE CASE AND NOW WE HAVE TO, YOU KNOW, PAY

11:37AM      23         THESE COSTS FOR TWO YEARS OR SO.      I'M SURE YOU UNDERSTAND.

11 : 37AM    24                    THE COURT:     I DO UNDERSTAND.   AND WHEN I FEEL THAT

11 : 37AM    25         HOW DO WE FIND OUR WAY FORWARD, I PICK UP THE RULE BOOK AND I



                                             UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR        Document 974-6     Filed 01/31/23   Page 18 of 30
                       SEALED PROCEEDINGS                                                         17


11 : 37AM    1          LOOK AT THE RULES.       AND I THINK THAT FOR THE ISSUES I ' VE

    J7AM     2          IDENTIFIED AND FOR THE REASONS THAT I ' VE IDENTIFIED, I WILL

11 : 37AM    3          PICK UP AND I WILL RULE ON THESE ISSUES , AND I ' M EXCLUDING THE

11: 37AM     4          TABLE ISSUE BECAUSE I THINK THAT IS WELL WITHIN MY

11: 37AM     5          PURVIEW .

11: 37AM     6               BUT WITH REGARDS TO CONTINUED PRESERVATION OF SIGNIFICANT,

11 : 37AM    7          SIGNIFICANT PORTIONS OF THE DATA, THAT I S EITHER ALL OF IT

11: 37AM     8          GOING - - YOU KNOW , STOP COLLECTING IT GOING FORWARD, NOT HAVE

11:37AM      9          TO PRESERVE WHAT IS HERE OR WHAT HAS ALREADY BEEN CORRECTED,

11 : 38AM   10          REMOVING A SIGNIFICANT PIECE OF THE UNDERLYING PRESERVATION

11 : 38AM   11          PLAN IN TERMS OF THE              FIELD PRESERVATION, THOSE ARE

11: 38AM    12          THOSE PIECES ARE QUITE LARGE AND I WILL TAKE THEM UP.            IF THE

11: 38AM    13          NINTH CIRCUIT SAYS THAT THAT ' S OKAY , IF I T AGREES THAT , YOU

     8AM    14          KNOW , THEN WE ' RE DOWN TO THE LORD ABBETT CASE AND OTHERS AND

11:38AM     15          WE ' LL GO FROM THERE , BUT I WANT TO HEAR FROM THE NINTH CIRCUIT

11: 38AM    16          THAT THAT ' S OKAY .

11: 38 AM   17               THE COST SHIFTING IS A PIECE I DISCUSSED AT LENGTH AND

11: 38AM    18          WORKED THROUGH AND EVALUATED AT LENGTH , I ' LL SAY, WITH REGARDS

11: 39AM    19          TO WHETHER I COULD STILL DEAL WITH COSTS , BUT I DON ' T SEE IN

11: 39AM    20          RULE 2 6 A PATH TO CONSIDER AND WEIGH THE LIKELIHOOD OF SUCCESS.

11: 39AM    21          AND , FRANKLY, THAT DOESN ' T SURPRISE ME BECAUSE LIKELI HOOD OF

11: 39AM    22          SUCCESS IS SQUARELY -- THAT PUTS US SQUARELY IN THE ISSUES

11: 39AM    23          BEFORE THE NINTH CIRCUIT .

11: 39AM    24               SO THOSE ISSUES , AGAIN , I WILL TAKE UP WITH PERMISSION

11: 39AM    25          FROM THE NINTH CIRCUIT .       AND IF YOU BELIEVE IT IS APPROPRIATE

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                                               UNITED STATES COURT REPORTE RS
                  Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23     Page 19 of 30
                        SEALED PROCEEDINGS                                                      18


11: 39AM      1         TO ASK JUDGE GONZALEZ ROGERS FIRST , I LEAVE THAT TO YOUR

    J9AM      2         CAREFUL ANALYSIS AS TO WHAT THE NEXT STOP IS .

11:39AM       3              AND THAT BRINGS US DOWN TO THE TABLES ISSUE , AND THE

11 : 39AM     4         TABLES THAT GOOGLE IS SEEKING RELIEF FROM NOT HAVING TO

11: 40AM      5         PRESERVE AND FOR THE SAME REASON -- ANO I'M GOING TO COME TO

11: 40AM      6         THE DIFFERENT POINT THAT MS . TREBICKA IDENTIFIED A MOMENT AGO,

11:40AM       7         BUT BECAUSE THAT IS ADDRESSING SQUARELY ARE THESE TABLES NEEDED

11 : 40AM     8         AS ARTICULATED IN MY PRESERVATION ORDER, AND THERE IS

11: 40AM      9         ADDITIONAL EVIDENCE NOW WITH REGARDS TO NEED THAT HAS BEEN

11: 40AM     10         DEVELOPED AS PART OF THE IMPLEMENTATION OF THE PRESERVATION

11 : 4 0AM   11         PLAN, THAT THAT IS PROPERLY BEFORE ME , AND I CAN TAKE THAT UP

11 : 40AM    12         ANO RULE ON IT HERE AND NOW WITHOUT INPUT FROM THE

11: 40AM     13         NINTH CIRCUIT .

     OAM     14               SO WITH THAT , MS. TREBICKA, LET'S GO BACK TO THE TABLES

11: 40AM     15          ISSUE AS WE SPENT SOME TIME WORKING THROUGH IT IN BROWN IS NOT

11 :41AM     16          IDENTICAL TO THE ISSUE HERE , SPECIFICALLY WITH REGARDS TO THE

11:41AM      17         ANALYTICS TABLES .

11:41AM      18               SO YOU WERE GOING TO TAKE ME THROUGH THAT .         SO PLEASE .

11:41AM      19                    MS . TREBICKA:    YES , YOUR HONOR .

11:41AM      20                               IS IDENTICAL, THE                     PIECE .

11 :4 1AM    21                    THE COURT :    UH- HUH .

11:41AM      22                    MS . TREBICKA:    WHERE IT IS NOT IDENTICAL IS WITH

11: 41AM     23         RESPECT TO THE ANALYTICS TABLES WHERE THE ONLY DATA SOURCES IN

11:41AM      24         THE PRESERVATION ORDER FOR CALHOUN THAT RELATES TO GOOGLE

11:41AM      25         ANALYTICS ARE IN GAIA             AND IN                ANO BOTH OF



                                             UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 20 of 30
                       SEALED PROCEEDINGS                                                   19


11:41AM      1         THOSE SOURCES ARE AUTHENTICATED.      SO GAIA PAID, GAIA           AND

    ,lAM     2         THEN              THE AUTHENTICATED SOURCE , AND BECAUSE THEY DO

11:41AM      3         NOT CONTAIN -- THEY ARE NOT KEY TO BISCOTTI , SO UNAUTHENTICATED

11: 41AM     4          IDENTIFIERS.   THE IDENTIFIERS THAT ARE MAPPED IN THE ANALYTICS

11:41AM      5         MAPPING TABLES ARE INAPPLICABLE TO THESE PRESERVED DATA

11: 42AM     6         SOURCES , AND , THEREFORE, UNNECESSARY TO READ THE DATA OR

11: 42AM     7         UNDERSTAND THE DATA .

11:42AM      8                      THE COURT :   SO WHAT IS IT IN THE ANALYTICS TABLES

11: 42AM     9         THAT MAKE - - THAT CAUSES THEM TO FALL UNDER MY ORDER?

11:42AM     10                      MS. TREBICKA :   IT IS - - GREAT QUESTION, YOUR HONOR .

11 : 42AM   11                AGAIN , PART OF THE REASON THAT WE HAD A LONG DISCUSSION OF

11:42AM     12         HOW WE HAVE IMPLEMENTED YOUR ORDER WAS BECAUSE WE WANTED TO BE

11:42AM     13         ABSOLUTELY CLEAR THAT WE WERE DOING WHAT YOU ASKED US TO DO.

     QAM    14                IT IS NOT THAT THESE TABLES ARE NOT NECESSARY TO READ THE

11:42AM     15          DATA, BUT WE WERE CONCERNED BY THE ORDER THAT SAID -- OR BY THE

11:42AM     16         LANGUAGE INSTRUCTING ALL MEANS ALL , AND I N THE INTEREST OF

11: 42AM    17         TRANSPARENCY, IN THE INTEREST OF NOT STEPPING WRONGLY BEFORE

11: 42AM    18         YOUR HONOR, WE WANTED TO IDENTIFY THEM, AND ALSO BECAUSE THEY

11:42AM     19         HAVE BEEN IDENTIFIED IN BROWN, AND BRING THIS TO YOUR HONOR ' S

11 : 43AM   20         ATTENTION.

11: 43AM    21                BUT CLEARLY THEY ARE NOT NECESSARY TO READ THE DATA IN

11:43AM     22         CALHOUN .

11: 43AM    23                      THE COURT :   WELL , I MADE IT CLEAR IN MY ORDER THAT

11 : 43AM   24          IF THE DATA IN THE TABLE WAS UNRELATED TO THE DATA IDENTIFIED

11:43AM     25         AND PRODUCED IN THE ACTION , THEN THAT TABLE DID NOT NEED TO BE

    )
                                            UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR      Document 974-6      Filed 01/31/23   Page 21 of 30
                        SEALED PROCEEDINGS                                                      20


11:43AM       1          PRODUCED OR PRESERVED, EXCUSE ME.        BUT THAT DOESN ' T, THAT

    ,3AM      2          DOESN ' T SOUND LIKE THIS IS A SITUATION WHERE THE ANALYTICS

11 : 43 AM    3         TABLES ARE COMPLETELY UNRELATED TO THE DATA THAT HAS BEEN

11 :4 3AM     4          IDENTIFIED OR PRODUCED .

11: 43AM      5                      MS. TREBICKA :     THEY -ARE ANALYTICS TABLES , SO IN THAT

11: 43AM      6          RESPECT , YES , THEY ALL DEAL WITH GOOGLE ANALYTICS DATA, - BUT

11 : 43AM     7          THEY ARE NOT RELATED TO THE DATA THAT IS BEING PRESERVED IN THE

11 : 44AM     8          SENSE OF BEING NECESSARY TO READ OR INTERPRET OR LINK THE DATA

11 : 44AM     9          THAT IS BEING PRESERVED .

11 : 44AM    10               SO FROM OUR PERSPECTIVE THEY ' RE UNNECESSARY.        THEY DO NOT

11:44AM      11          FALL WITHIN YOUR ORDER .      THEY ' RE UNNECESSARY .

11:44AM      12               BUT AS I SAID A MOMENT AGO , YOUR HONOR, WE DID NOT WANT TO

11: 4 4AM    13          MISSTEP .   WE IDENTIFIED IT .      WE WANTED YOUR HONOR TO BE AWARE

     4AM     14          OF IT , SO ONCE IT APPEARS IN BROWN OR IS MADE AWARE IN BROWN,

11 : 44AM    15          WE ARE NOT, AS GOOGLE AND COUNSEL TO GOOGLE SECOND GUESS ABOUT

11 : 44AM    16          SOME DECISIONS THAT WE HAVE MADE TO DATE, ESPECIALLY SINCE

11 : 44AM    17          THESE CASES HAVE BEEN PROCEEDING IN PARALLEL .

11 : 44AM    18               BUT , AGAIN , WE DON ' T THINK THAT THESE MAPPING TABLES APPLY

11: 44AM     19          TO THE DATA THAT IS BEING PRESERVED IN CALHOUN, THE GOOGLE

11 : 4 4AM   20          ANALYTICS DATA THAT IS BEING PRESERVED IN CALHOUN .

11 : 4 4AM   21                      THE COURT :     OKAY.

11:44AM      22               MR . STRAITE.

11 : 44AM    23                      MR. STRAITE :     THANK YOU, YOUR HONOR .

11 : 44AM    24               TWO QUICK THINGS.       WE DON ' T KNOW WHAT IS IN SOME OF THESE

11 : 44AM    25          MAPPING TABLES , SO WHEN GOOGLE COUNSEL SAYS THAT THE MAPPING



                                              UN I TED STATES COURT REPORT ERS
                   Case 4:20-cv-05146-YGR      Document 974-6     Filed 01/31/23      Page 22 of 30
                         SEALED PROCEEDINGS                                                           21


11 : 45 AM     1         TABLES DON' T RELATE TO              OR OTHER DATA SOURCES BEING

     JSAM      2         PRESERVED, WE HAVE NO WAY TO EVALUATE THAT.             WE HAVEN ' T SEEN

11 : 4 5AM     3         THEM .     WE DON ' T KNOW WHAT IS BEING PRESERVED .

11 : 45AM      4                  SO WE HAVE NO INTEREST.    CERTAINLY WE HAVE NO DESIRE FOR

11 : 45AM      5         GOOGLE TO PRESERVE TABLES OR DATA THAT IS LITERALLY UNRELATED

11: 45AM       6         TO THIS ACTION AND ARE UNNECESSARY AND ARE DUPLICATIVE.

11: 45AM       7                  SO WE WOULD ONLY ASK FOR TRANSPARENCY AND AN OPPORTUNITY

1 1 : 45 AM    8         TO HAVE A CONVERSATION WITH GOOGLE AND OUR EXPERTS TO DETERMINE

11: 45AM       9         WHAT IS IN THESE TABLES AND WHAT ARE THEY MAPPING TO .

11 : 45AM     10                  SO MAPPING TABLES MAP GAIA TO WHAT?      WE DON ' T KNOW WHAT IS

11 : 45AM     11          IN THE MAPPING TABLES.      WE ' RE OBVIOUSLY A BIT IN THE DARK .          WE

11 : 45AM     12         WOULD JUST ASK FOR AN OPPORTUNITY TO MEET WITH GOOGLE TO

11: 45AM      13          DETERMINE WHAT IS IN THE TABLES THAT THEY ' RE PROPOSING THAT

      SAM     14         THEY BE RELIEVED FROM THE OBLIGATION TO PRESERVE .            IF THEY ' RE

11: 45AM      15          DUPLICATIVE OR TRULY NOT RELATED TO THE CASE , OF COURSE WE HAVE

11 :4 5AM     16         NO OBJECTION.      WE HAVE NO BASIS TO SAY ONE WAY OR THE OTHER

11 : 4 6AM    17          UNTIL WE MEET AND CONFER WITH THEM .

1 1 : 46AM    18                       THE COURT:   OKAY .   WELL , HERE ' S A CONCERN I HAVE , IN

11: 46AM      19         LIGHT OF THE INFORMATION THAT MS . TREBICKA HAS LAID OUT MORE

11 : 46AM     20         CLEARLY FOR ME HERE ON THE RECORD, WHICH IS THAT TO HAVE A

11: 46AM      21         CONVERSATI ON, AND WE ' RE JUST TALKING ABOUT THE ANALYTICS TABLES

11: 46AM      22         NOW BECAUSE I THI NK ON THE                      PIECE IT CAN MIRROR

11 : 46AM     23         THE PROCESS THAT WE DISCUSSED IN BROWN.          BUT WITH REGARDS TO

1 1: 46AM     24         THE ANALYTICS PIECE , DID I HEAR GOOGLE SAYING THAT THERE ' S

11 : 46AM     25         NOTHING IN THESE TABLES THAT REFLECTS WHAT LINK OR COULD BE

    )
                                               UNITED STAT ES COURT RE PORTERS
                 Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 23 of 30
                       SEALED PROCEEDINGS                                                      22


11: 46AM     1          DERIVED FROM THE TABLES THAT ARE BEING FROM THE PRESERVED DATA.

    ,6AM     2         THEY DON'T SHED ANY INFORMATION.       SO TO HAVE THAT DISCUSSION

11:46AM      3         WHAT I'M TRYING TO AVOID, MR. STRAITE, IS I'VE ALREADY SAID

11:47AM      4         THAT GOOGLE DOESN'T HAVE TO, YOU KNOW, THEY DON'T HAVE TO MAKE

11:47AM      5         THE ENTIRE TABLES.      I MEAN, ALL OF THIS INFORMATION AVAILABLE.

11:47AM      6         THIS IS NOT AN OPEN IT ALL UP AND HAVE THE PLAINTIFFS LOOK

11:47AM      7         AROUND AND SEE IF THERE'S ANYTHING THAT RELATES.          THAT'S NOT

11:47AM      8         THE PROCESS.

11:47AM      9                 AND IN BROWN WE WERE ABLE TO START WITH, WELL, HERE ARE

11:47AM     10         THE PIECES THAT GOOGLE SAYS RELATE.       DO THEY RELATE IN THE WAY

11:47AM     11         THAT GOOGLE SAID THEY DO?       IT'S A LITTLE BIT HARDER .    I'M NOT

11: 47AM    12         QUITE SURE , BUT I'M WILLING TO LEAVE IT TO THE PARTIES TO

11:47AM     13          FIGURE OUT A WAY TO HAVE THAT DISCUSSION, BUT SIMPLY OPEN UP

     7AM    14         AND SHOW US EVERYTHING IN THE TABLES IS CERTAINLY NOT WHERE

11: 4 7AM   15         WE'RE GOING TO START.

11 : 47AM   16                      MR. STRAITE:    AND WE CAN ABSOLUTELY AGREE TO THAT.

11 : 47AM   17         WE DON'T HAVE TO HAVE ALL OF THE TABLES COMPLETELY OPEN , BUT IF

11:47AM     18         WE HAVE SUFFICIENT INFORMATION TO UNDERSTAND WHAT IS GAIA ID

11: 47AM    19         MAP TO?     WE HEARD THAT ANALYTICS TABLES DON'T REVEAL ANY NEW

11 : 48AM   20          INFORMATION THAT IS NOT ALREADY IN SAY, FOR EXAMPLE, BUT WHAT

11: 48AM    21         ABOUT          ?   THERE ARE A LOT OF QUESTIONS THAT WOULDN'T

11: 48AM    22         REQUIRE THAT WE HAVE COMPLETE ACCESS TO EVERYTHING, BUT WE DO

11 : 48AM   23         NEED ADDITIONAL INFORMATION TO UNDERSTAND WHAT ARE THE DETAILS

11: 48AM    24         OF GOOGLE'S ARGUMENT?       WE'RE WILLING TO HAVE THOSE

11: 48AM    25         CONVERSATIONS .

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                                            UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR      Document 974-6           Filed 01/31/23   Page 24 of 30
                        SEALED PROCEEDINGS                                                          24


11: SOAM      1                       MR. STRAITE :     YES , YOUR HONOR, THAT SCHEDULE WORKS

    , OAM     2         FINE .     IT'S OUR EXPECTATION THAT THE MEET AND CONFERS WOULD BE

11: 50AM      3         JOINTLY WITH GOOGLE AND BROWN COUNSEL SO THAT WE'RE NOT HAVING,

11 : SOAM     4         YOU KNOW , TELEPHONE CONVERSATIONS .            YES , THAT SCHEDULE MAKES

11: SOAM      5         SENSE FOR US .

11: SOAM      6                       THE COURT :     OKAY .   AND THIS HAS TO MOVE FORWARD

11 :5 0AM     7         EXPEDITIOUSLY TO GET THIS ISSUE ADDRESSED .

11 : SOAM     8                  BEFORE WE WRAP UP , I HAD A QUESTION .         I WANTED TO

11: SOAM      9         UNDERSTAND, JUST BRIEFLY, MS . TREBICKA, THE DATA RETENTION

11: 51AM     10         INFORMATION AND APPROXIMATE COST INFORMATION THAT GOOGLE

11 : 51AM    11         PROVIDED, AND I'M -- I AGREE , WE ' LL PROCEED AS WITH BROWN, BUT

11 : 51AM    12          I WANTED TO BE SURE THAT I WAS UNDERSTANDING THE INFORMATION

11 : 51AM    13         THAT GOOGLE HAD PROVIDED TO THE COURT SO FAR IN ITS

     1AM     14         SUPPLEMENTAL BRIEFING WHERE IT HAD -- I ' M LOOKING AT DOCUMENT

11: 51AM     15         NUMBER 929- 3 WHERE IT HAD THE FIELD PRESERVATION NUMBERS AND

11: 51AM     16         THEN THE NUMBER FOR ALL OTHER PRESERVATION TASKS EXCLUDING

11:51AM      17         RELIEF SOUGHT .

11: 51AM     18                       MS. TREBICKA :     YES , YOUR HONOR .

11: 51AM     19                       THE COURT :     DO YOU SEE WHERE I AM?

11: 51!'.M   20                       MS . TREBICKA :     I SEE IT .     I ACTUALLY HAVE A HANDY

11: 51AM     21         TABLE THAT WE CAN SHARE SCREEN.           WOULD THAT BE OKAY?

11: 52AM     22                  SETH, DO YOU MI ND?

11: 52AM     23                  IS IT OKAY TO SHARE , YOUR HONOR?

11 : 52AM    24                       THE COURT :     WELL , LET ME ASK YOU A QUESTION FIRST

11 : 52AM    25         BECAUSE THAT ' S WHAT I ' M LOOKING AT IS DOCKET 929.



                                              UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR        Document 974-6       Filed 01/31/23   Page 25 of 30
                        SEALED PROCEEDINGS                                                        25


11: 52AM     1                        MS . TREBICKA :   DOCUMENT 929.

    J2AM     2                        THE COURT :   TAB 2.

11:52AM      3                        MS . TREBICKA :   TAB 2 , YES .

11: 52AM     4                        THE COURT:    AND LOOKING FIRST AT THE DATA THAT IS

11:52AM      5          PRESERVED .       SO GOOGLE BROKE OUT THE            FIELD BASE

11:52AM      6          PRESERVATION .

11:52AM      7                        MS. TREBICKA :    YES .

11:52AM      8                        THE COURT :   THAT ' S PART OF ITS REQUEST FOR RELIEF .

11 : 52AM    9               AND THEN ALL OTHER PRESERVATION TASKS , EXCLUDING RELIEF

11: 52AM    10          SOUGHT , WHICH I ASSUME EXCLUDES THE MAPP I NG AND LINKING TABLES .

11 : 52AM   11                        MS . TREBICKA :   YES , IT DOES .

11: 52AM    12                        THE COURT:    OKAY .

11 : 52AM   13                        MS . TREBICKA :   I WAS JUST GOING TO CONFIRM .      I DON ' T

     2AM    14          HAVE 929 RIGHT IN FRONT OF ME .          MAYBE SETH CAN GET IT TO ME.

11:52AM     15               WHAT WE HAVE IS IN CALHOUN IS ALL OTHER PRESERVATION TASKS

11: 52AM    16          EXCLUDING RELIEF SOUGHT IN THE FIRST YEAR IS A LITTLE OVER

11 : 53AM   17                        .

11: 53AM    18                        THE COURT :   OH- HUH.

11 : 53AM   19                        MS . TREBICKA:    AND THEN IT GROWS EXPONENTIALLY TO

11: 53AM    20                             AFTER TWO YEARS AND TO JUST OVER                  AFTER

11:53AM     21          THREE YEARS .

11 : 53AM   22                        THE COURT :   RIGHT .     BUT THAT ' S ALL PRESERVATION

11 : 53AM   23          TASKS EXCLUDING              FIELD AND THE MAPPING TABLES.

11: 53AM    24                        MS . TREBICKA :   CORRECT , YOUR HONOR .

11: 53AM    25                        THE COURT:    OKAY .



                                               UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR      Document 974-6     Filed 01/31/23    Page 26 of 30
                         SEALED PROCEEDINGS                                                      26


11 : 5 3AM    1               AND THERE WASN'T A BREAKOUT OF THE MAPPING TABLE COSTS.

    J3 AM     2          WOULD THAT TRACK -- THAT TABLE IS IN THE BROWN BRIEFS.

11: 53AM      3               DOES THAT TRACK - - THAT WAS THE APPROXIMATELY -- I CAN'T

11 : 53 AM    4          REMEJIIBER THE PETABYTES, BUT I KNOW IT WAS THE                     OVER

11 : 53 AM    5          THREE YEARS.

11 : 53AM     6                     MS. TREBICKA:      YES, YOUR HONOR, AND IT IS 897-3F10

11 : 53AM     7          AND IT APPLIES TO BOTH BROWN AND CALHOUN.         WE ALSO HAVE IT

11 : 53AM     8          BROKEN OUT BY                    AND ANALYTICS, BUT IT IS

11: 54AM      9                         IN THE FIRST YEAR,                 AFTER TWO YEARS, AND

11 : 54AM    10                          AFTER THREE YEARS.

11 : 54AM    11                     THE COURT:     RIGHT.    OKAY.   I JUST WANTED TO BE SURE

11 : 54AM    12          THAT WE WERE TALKING ABOUT THE SAME NUMBERS THAT THEY WERE

11 : 54AM    13          NOT ALL OF THE PIECES WERE IN BOTH SETS OF TABLES

      4AM    14          UNDERSTANDABLY.

11: 54AM     15                     MS. TREBICKA:      YES, YOUR HONOR.

11: 5 4AM    16               AND AS FAR AS            PRESERVATION OR OUR RELIEF FROM THE

11: 54AM     17                 FIELD-BASED PRESERVATION, MS. GAO WAS READY AND PREPARED

11: 54AM     18          TO ADDRESS THAT.     I DON'T KNOW IF YOUR HONOR HAS ANY QUESTIONS

11 : 54AM    19          FOR US ON THAT POINT BEFORE WE CONCLUDE TODAY.           I UNDERSTAND

11 : 54AM    20          YOUR RULING ON JURISDICTION, BUT AT ANY RATE I WANTED TO MAKE

11 : 54 AM   21          SURE THAT IF THERE ARE ANY LINGERING QUESTIONS, MS. GAO IS HERE

11: 54 AM    22          TO ADDRESS THEM.

11: 54AM     23                     THE COURT:     THANK YOU.

11 : 54AM    24               MR. STRAITE, BEFORE I RESPOND TO THAT.

11 : 54AM    25                     MR. STRAITE:      THANK YOU, YOUR HONOR.



                                              UNIT ED STATES COURT RE PORTERS
                 Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 27 of 30
                       SEALED PROCEEDINGS                                                    27



11:54AM      1               MS . TREBICKA REFERENCED IN THE BROWN DOCKET,

    ,SAM     2          DOCUMENT 897-3.     THOSE WERE DOCUMENTS WHERE THESE DOLLAR

11: SSAM     3          FIGURES APPEAR, THEY WERE FILED UNDER SEAL, AND WE NEVER GOT

11: SSAM     4         COPIES OF THEM.      I'M ASKING FOR A COURTESY COPY OF THE SEALED

11: SSAM     5         VERSION OF THE DOCUMENTS REFERENCED TODAY.

11: 55AM     6                    THE COURT:     I WOULD ASSUME THAT THAT IS ALL RIGHT .

11:55AM      7                    MS. TREBICKA:     ABSOLUTELY.

11:55AM      8                    THE COURT:     BUT THAT IS GOOGLE INFORMATION.     SO TO

11 : SSAM    9         THE EXTENT THAT THERE IS INFORMATION AND THAT IT'S NOT EXACTLY

11: 55AM    10          DUPLICATED AS BETWEEN THE BROWN AND CALHOUN CASES, AND I ' M

11: 55AM    11         THINKING OF THE SUPPORTING TECHNICAL DECLARATIONS AS WELL

11: SSAM    12          PROVIDE THOSE TO THE PLAINTIFFS IN CALHOUN .

11 : SSAM   13                    MS. TREBICKA:     WE WILL DO THAT, YOUR HONOR.

     SAM    14               THE TECHNICAL DECLARATION, SO THE UNDERLYING EVIDENCE IS

11: SSAM    15         THE SAME IN BOTH CASES, BUT WE MAX HAVE PRESENTED IT SLIGHTLY

11: SSAM    16          DIFFERENT IN THE MOTION, AND, THEREFORE , THESE NUMBERS , THE

11: 56AM    17         AGGREGATED NUMBERS MAY HAVE BEEN SLIGHTLY DIFFERENT.

11: 56AM    18               BUT, MR. STRAITE, WE WILL ABSOLUTELY GET THAT OVER TO YOU.

11: 56AM    19                    THE COURT:     I JUST WANT TO BE SURE EVERYBODY, WHEN

11:56AM     20         YOU'RE GOING TO MEET AND CONFER AND THESE EFFORTS ARE GOING

11 : 56AM   21          FORWARD JOINTLY IN THE CALHOUN AND BROWN CASE, THAT EVERYBODY

11: 56AM    22         HAS SEEN THE SAME INFORMATION.

11: 56AM    23               I APPRECIATE AT LEAST AS TO THE ANALYTICS TABLE THE

11 : 56AM   24         SITUATION IS A LITTLE BIT DIFFERENT , BUT LET'S GET EVERYTHING

11: 56AM    25         OUT ON THE TABLE.



                                            UNITED STATES COURT REPORTERS
                 Case 4:20-cv-05146-YGR      Document 974-6          Filed 01/31/23   Page 28 of 30
                       SEALED PROCEEDINGS                                                           28


11: 56AM     1              I APPRECIATE MS . GAO ' S PREPARATION FOR THE

    J6AM     2         FIELD- BASED PRESERVATION, AND I LOOK FORWARD TO HEARING THAT AS

11: 56AM     3         SOON AS THE NINTH CIRCUIT TELLS ME THAT I CAN , IF AND WHEN .

11: 56AM     4              OKAY.      ANY OTHER - - ANYTHING ELSE ON THIS FOR TODAY?           I

11: 56AM     5         WILL WRITE UP AN ORDER SUMMARIZING THE RULINGS WITH REGARDS TO

11: 57AM     6         THE ISSUES THAT I BELIEVE NEED TO BE DETERMINED BY THE

11:57AM      7         NINTH CIRCUIT , REMANDED TO ME BY THE NINTH CIRCUIT.              SO YOU ' LL

11: 57AM     8         HAVE THAT ORDER .

11:57AM      9              ANYTHING FURTHER, MS. TREBICKA?

11: 57AM    10                       MS. TREBICKA :      NOT FROM OUR SIDE , YOUR HONOR .

1 1:5 7AM   11                       THE COURT :      MR. STRAITE?

11: 57AM    12                       MR . STRAITE :     NO , YOUR HONOR.    THANK YOU FOR YOUR

11 : 57AM   13         TIME ON THIS.

    i7AM    14                       THE COURT :      ALL RIGHT.     THANK YOU VERY MUCH.

11 : 57AM   15              I APPRECIATE , AS ALWAYS , COUNSEL'S CAREFUL PREPARATION OF

11:57AM     16         THE BRIEFS .     AND I ' LL GET THOSE ORDERS OUT , AND I WILL SEE YOU

11: 5 7AM   17         NEXT TIME .     AND I LOOK FORWARD TO THOSE STATUS REPORTS IN

11: 57AM    18         21 DAYS.      THANK YOU .

11 : 57AM   19                       MS . TREBICKA :     THANK YOU , YOUR HONOR.

11 : 57AM   20                       MR. STRAITE :      THANK YOU , YOUR HONOR .

11:57AM     21                       THE COURT:       THAT CONCLUDES THIS MATTER.       THE

11: 57AM    22         TRANSCRIPTS CAN BE RELEASED TO THE PARTIES .

11: 57AM    23              WE ARE ADJOURNED .         THANK YOU.

11 : 57AM   24                       MR . SCHAPIRO:      THANK YOU, JUDGE .

11 : 57AM   25                       MS. TREBICKA:       THANK YOU , YOUR HONOR.



                                             UNITED STATES COURT REPORTERS
                  Case 4:20-cv-05146-YGR     Document 974-6    Filed 01/31/23   Page 29 of 30
                        SEALED PROCEEDINGS                                                  29


11 : 5 7AM    1               (COURT CONCLUDED AT 11:57 A.M. )

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                                             UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 974-6     Filed 01/31/23    Page 30 of 30



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 3                              CERTIFICATE OF REPORTER

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 7               I , THE UNDERS I GNED OFFI CIAL COURT REPORTER OF THE

 8         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9         CALIFORNIA, 280 SOUTH FIRST STREET , SAN JOSE , CALIFORNIA, DO

10         HEREBY CERTIFY :

11               THAT THE FOREGOING TRANSCRIPT , CERTIFICATE INCLUSIVE , IS

12         A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13         ABOVE- ENTITLED MATTER.

14

15

16                                   IRENE RODRIGUEZ , CSR, RMR , CRR
                                     CERTIFICATE NUMBER 8074
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18
                                     DATED :   JANUARY 12 , 2023
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